Case: 2:23-cv-00512-SDM-EPD Doc #: 201-11 Filed: 12/06/23 Page: 1 of 4 PAGEID #: 2032




                          Exhibit K
Case: 2:23-cv-00512-SDM-EPD Doc #: 201-11 Filed: 12/06/23 Page: 2 of 4 PAGEID #: 2033




                                UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION
  Root, Inc., et al.                              )
                                                  )
                  Plaintiffs,                     )
                                                  )
  v.                                              )     CASE NO.: 2:23-CV-00512-SDM-CM
                                                  )
  Brinson Caleb Silver, et al.,                   )
                                                  )
                  Defendants.
                                                  )


  SPECIALLY APPEARING DEFENDANT WILLIAM CAMPBELL’S RESPONSES AND
  OBJECTIONS TO PLAINTIFFS ROOT, INC., CARET HOLDINGS, INC., AND ROOT
       INSURANCE AGENCY, LLC’S FIRST REQUESTS FOR PRODUCTION

          Pursuant to the Federal Rules of Civil Procedure Rules 26 and 34, Specially Appearing

  Defendant William Campbell (“Campbell”) hereby serves these Objections and Responses to the

  First Requests for Production of Plaintiffs Root, Inc., Caret Holdings, Inc., and Root Insurance

  Agency, LLC (collectively, the “Plaintiffs”).
Case: 2:23-cv-00512-SDM-EPD Doc #: 201-11 Filed: 12/06/23 Page: 3 of 4 PAGEID #: 2034




     SPECIFIC RESPONSES AND OBJECTIONS TO REQUEST FOR PRODUCTION

         REQUEST NO. 1. Produce all documents or other tangible items identified, or relied
  upon, in responding to the concurrently served Interrogatories.

  RESPONSE: Campbell will produce documents responsive to this request.

          REQUEST NO. 2. Produce any documents whereby anyone associated with Root
  directed you to associate with or hire Collateral Damage to perform work for Root or for the benefit
  of Root.

  RESPONSE: Campbell, acting in his personal capacity, never associated with Collateral Damage
  or Root. Accordingly, no such documents exist.

         REQUEST NO. 3. Produce all documents and communications exchanged between
  you and Silver from January 2021 to present.

  RESPONSE: Campbell, in his personal capacity, is unaware of any responsive materials.

          REQUEST NO. 4. Produce all documents and communications exchanged with Silver
  relating to Root, Collateral Damage, and/or Eclipse.

  RESPONSE: Campbell, in his personal capacity, is unaware of any responsive materials.

          REQUEST NO. 5.        Produce all documents or other tangible items exchanged with or
  related to Root.

  RESPONSE: Campbell, in his personal capacity, is unaware of any responsive materials.

         REQUEST NO. 6. Produce all documents and communications you exchanged with or
  received from any person relating to subcontractor work performed for Root or for the benefit of
  Root.

  RESPONSE: Campbell, in his personal capacity, is unaware of any responsive materials.

         REQUEST NO. 7. Produce all documents related to payments you received from or
  made to Quantasy, Collateral Damage, Silver, Eclipse, Lanskie, or others relating to your work
  with Root or Collateral Damage.

  OBJECTION: Campbell objects to the term “relating to” as vague and undefined. As a principal
  at Quantasy, Campbell receives a salary and, from time to time, distributions from Quantasy.
  Some portion of Campbell’s salary and/or distributions received may have included revenue
  realized from Root or profits derived from Quantasy’s work on behalf of Root; the percentage of
  salary or distributions that are derived from Quantasy’s work for Root is impossible to calculate
  with any accuracy, and, further, Campbell objects to production of documents relating to his salary
  and distributions from Quantasy. He will not produce any information related to his salary.

                                                   3
Case: 2:23-cv-00512-SDM-EPD Doc #: 201-11 Filed: 12/06/23 Page: 4 of 4 PAGEID #: 2035




  Campbell further states that he did not make or receive any payments to or from Collateral
  Damage, Silver, Eclipse, or Lauren Lanskie, therefore, he is unaware of any responsive materials
  as this Request relates to Collateral Damage, Silver, Eclipse, and Lauren Lanskie.

          REQUEST NO. 8. Produce any bank records from January 1, 2021, to the present that
  reflect any payment to you by, or by you to, Collateral Damage, Eclipse, and/or Silver.

  RESPONSE: Campbell states that he did not make or receive any payments to or from Collateral
  Damage, Silver, or Eclipse; therefore, he is unaware of any responsive materials.

         REQUEST NO. 9.         Produce all other documents related to Root not requested above.

  RESPONSE: Campbell, in his personal capacity, is unaware of any responsive materials.

          REQUEST NO. 10. Produce all documents that you intend to introduce into evidence or
  refer to at any hearing, deposition or trial in this matter.

  RESPONSE: Campbell states that he has not determined what materials he will introduce into
  evidence or refer to during any hearings, depositions, or at trial. Campbell will produce any such
  materials in compliance with any applicable Federal Rules of Civil Procedure, Federal Rules of
  Evidence, and the Court’s pre-trial orders.


                                                      AS TO OBJECTIONS:

                                                      /s/ Matthew D. Ridings
                                                      Matthew D. Ridings, Trial Attorney
                                                      (0079402)
                                                      THOMPSON HINE LLP
                                                      127 Public Square
                                                      3900 Key Center
                                                      Cleveland, Ohio 44114
                                                      Telephone: 216.566.5561
                                                      Facsimile: 216.566.5800
                                                      Matt.Ridings@ThompsonHine.com

                                                      Joan E. Meyer
                                                      (Admitted Pro Hac Vice)
                                                      THOMPSON HINE LLP
                                                      1919 M Street, N.W.
                                                      Suite 700
                                                      Washington, D.C. 20036-3537
                                                      Telephone: 202.263.4115
                                                      Facsimile: 202.331.8330
                                                      Joan.Meyer@ThompsonHine.com



                                                  4
